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bocarrasco47@outlook.com

From:                       Moffet, Brian L. <bmoffet@MilesStockbridge.com>
Sent:                       Monday, June 7, 2021 3:25 PM
To:                         'Bryce Carrasco'
Subject:                    Carrasco v. M&T - Response to First Document Request
Attachments:                Response to First Set of Request for Documents 4816-2688-7917 v.1.pdf


Mr. Carrasco –

Attached is M&T’s Response to Plaintiff’s First Document Request. A hard copy has been placed in the mail.

Thank you.

Brian

Brian Moffet
100 Light Street | Baltimore, MD 21202
D: +1 410.385.3656 | O: +1 410.727.6464 | F: +1 410.773.9138

vCard | bmoffet@milesstockbridge.com


For COVID‐19 information and resources, please visit our Coronavirus Task Force page.




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____________________________________________________________________________
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                       IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF MARYLAND

BRYCE CARRASCO,                               *

       Plaintiff,                             *

v.                                            *              Case No.: SAG-21-532

M&T BANK,                                     *

       Defendant.                             *

*      *       *       *      *        *      *      *       *       *      *       *       *     *

              DEFENDANT M&T BANK’S RESPONSE TO PLAINTIFF’S
           FIRST SET OF REQUESTS FOR PRODUCTION OF DOCUMENTS

TO:            Plaintiff Bryce Carrasco

FROM:          Defendant M&T Bank

       Pursuant to Rule 34 of the Federal Rules of Civil Procedure and the Discovery Guidelines

of the United States District Court for the District of Maryland, Defendant M&T Bank (“M&T”),

by and through its undersigned attorneys, hereby serves the following response to the First Request

for Production served by Plaintiff Bryce Carrasco.

                                           RESPONSE

       REQUEST NO. 1:         The original account application for the credit card that Plaintiff

completed on or about July 17, 2020.

       RESPONSE: M&T does not have any documents responsive to Request No. 1. M&T

does not maintain completed paper credit card applications in the ordinary course and in fact, does

not even require a paper application to be submitted in order to consider someone for a credit card.

An applicant can apply for an M&T credit card by phone and can also apply in person at an M&T

branch location, both by orally providing the same information to an M&T representative than that
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which is requested in the paper application. If a person completes a paper application and provides

that application to an M&T representative at a branch location, the information from the

application is entered into M&T’s software platform and then the paper application is either placed

in the shred bin to be permanently destroyed or returned to the applicant. Whichever is the case,

M&T does not retain the completed credit card application nor does it scan and save the application

in the ordinary course.



                                                 Respectfully submitted,

                                                 /s/ Brian L. Moffet
                                                 Brian L. Moffet (Fed. Bar No. 13821)
                                                 MILES & STOCKBRIDGE P.C.
                                                 100 Light Street
                                                 Baltimore, Maryland 21202
                                                 Tel: (410) 727-6464
                                                 bmoffet@milesstockbridge.com

                                                 Attorneys for Defendant M&T Bank




                                CERTIFICATE OF SERVICE

       I hereby certify that on June 7, 2021, a copy of the foregoing was served on the following

via email and via first class mail, postage prepaid:

       Bryce Carrasco
       334 Ternwing Drive
       Arnold, MD 21012


                                                 /s/ Brian L. Moffet
                                                 Brian L. Moffet



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